UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
DENISE CRUMWELL, on behalf of herself and all other :
persons similarly situated,                                            :
                                                                       :
                                    Plaintiff,                         :    24-CV-08409 (JAV)
                                                                       :
                  -v-                                                  :         ORDER
                                                                       :
ENGELBERT STRAUSS, INC.,                                               :
                                                                       :
                                    Defendant.                         :
                                                                       X
----------------------------------------------------------------------

JEANNETTE A. VARGAS, United States District Judge:

       This case has been reassigned to the undersigned. All parties must familiarize themselves
with the Court’s Individual Practices, which are available at https://nysd.uscourts.gov/hon-
jeannette-vargas.

       Plaintiff alleges that Defendant’s website is not accessible to blind and visually impaired
customers and, thus, violates Title III of the Americans with Disabilities Act (“ADA”), 42 U.S.C.
§ 12181 et seq. By separate Order to be entered today, the Court is referring this case to the
assigned Magistrate Judge for General Pretrial Purposes, including settlement. To be clear,
the referral does not encompass any dispositive motions, which will be handled by the
undersigned in the normal course.


        SO ORDERED.

Dated: January 21, 2025                                     ____________________________ _____
       New York, New York                                         JEANNETTE A. VARGAS
                                                                  United States District Judge
